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10   Attorneys for Feingold Movants

11
                                   UNITED STATES DISTRICT COURT
12
                                          DISTRICT OF NEVADA
13
     FEDERAL TRADE COMMISSION,                              Case No.: 2:12-cv-00536 GMN-VCF
14
                           Plaintiff,
15                                                          STIPULATION FOR EXTENSION OF
     v.                                                     TIME FOR FEINGOLD MOVANTS’ TO
16                                                          REPLY TO KIM TUCKER AND
     AMG SERVICES, INC., et al.,                            RELATED ENTITIES’ OPPOSITION
17                                                          TO MOTION TO VACATE
                           Defendants.                      JUDGMENT
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20             IT IS HEREBY STIPULATED between the Feingold Movants, as that term is defined in
21   their Motion to Vacate Judgment (Doc. # 1341), and Kim Tucker and the Related Entities as those
22   terms are defined in their Opposition to the Motion to Vacate Judgment (Doc. #1359) that the
23   Feingold Movants shall have until Monday, December 6, 2021 to file any reply they may have to
24   the Opposition. This stipulation is made without the purpose of delay, but, instead, to permit the
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                                                     11/10/21 Page 2 of 3




 1   parties additional time to discuss the grounds for the Opposition and determine whether any reply

 2   will be necessary.

 3

 4   Dated: November 10, 2021
 5   BRYAN CAVE LEIGHTON PAISNER                     DUANE MORRIS LLP
     LLP
 6
     By: /s/ Sean K. McElenney (w/ permission)     By: /s/ Tyson E. Hafen____________
 7       Sean K. McElenney (SBN 9122)                  Tyson E. Hafen (SBN 13139)
         Two North Central Avenue, Suite 2100
 8        Phoenix, Arizona 85004-4406                    Attorneys for Feingold Movants
 9   Attorneys for Kim Tucker and Related
     Entities
10
                                                   IT IS SO ORDERED.
11
                                                   Dated this 12 day of November, 2021.
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15                                                 Gloria M. Navarro, District Judge
                                                   UNITED STATES DISTRICT COURT
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 1                                     CERTIFICATE OF SERVICE
 2
               I hereby certify that on November 10, 2021, I served via CM/ECF and/or deposited for
 3
     mailing in the U.S. Mail a true and correct copy of the foregoing STIPULATION FOR
 4
     EXTENSION OF TIME FOR FEINGOLD MOVANTS’ TO REPLY TO KIM TUCKER
 5
     AND RELATED ENTITIES’ OPPOSITION TO                    MOTION TO VACATE JUDGMENT
 6
     (postage prepaid if by U.S. Mail) and addressed to all parties and counsel as identified on the
 7
     CM/ECF-generated Notice of Electronic Filing.
 8

 9                                                   /s/ Jana Dailey
                                                     Jana Dailey
10                                                   An employee of DUANE MORRIS LLP
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